Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Harbor Custom Development, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Harbor Custom Homes
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1201 Pacific Avenue, Suite 1200
                                  Tacoma, WA 98402-4395
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pierce                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://harborcustomdev.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Harbor Custom Development, Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Harbor Custom Development, Inc.                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See attached Appendix A                                       Relationship

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   Harbor Custom Development, Inc.                                             Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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Debtor    Harbor Custom Development, Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 11, 2023
                                                  MM / DD / YYYY


                             X /s/ Shelly Crocker                                                         Shelly Crocker
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Aditi Paranjpye                                                         Date December 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aditi Paranjpye
                                 Printed name

                                 Cairncross & Hempelmann, P.S.
                                 Firm name

                                 524 Second Avenue
                                 Suite 500
                                 Seattle, WA 98104
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-587-0700                  Email address      aparanjpye@cairncross.com

                                 53001 WA
                                 Bar number and State




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                                          Appendix A

The Debtor and each of the affiliated entities listed in the table below filed in the Court a
voluntary petition for relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101-15332.

              Debtor                             District                     Date Filed
 Harbor Custom Development,          Western District of Washington       December 11, 2023
 Inc.
 Belfair Apartment, LLC              Western District of Washington       December 11, 2023
 HCDI at Semiahmoo LLC               Western District of Washington       December 11, 2023
 Beacon Studio Farms LLC             Western District of Washington       December 11, 2023
 HCDI Bridge View, LLC               Western District of Washington       December 11, 2023
 HCDI FL Condo LLC                   Western District of Washington       December 11, 2023
 Pacific Ridge CMS, LLC              Western District of Washington       December 11, 2023




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                              UNITED STATES BANKRUPTCY COURT
 7                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA

 9
     In re:
10                                                      NO.
11   HARBOR CUSTOM DEVELOPMENT, INC.,
                                                        ATTACHMENT TO VOLUNTARY PETITION
12                           Debtor.                    FOR NON-INDIVIDUALS FILING FOR
                                                        BANKRUPTCY UNDER CHAPTER 11
13

14

15
              1.     If any of the debtor’s securities are registered under Section 12 of the Securities
16
     Exchange Act of 1934, the SEC file number is 001-39266.
17
              2.     The following financial data is the latest available information and refers to the
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     debtor’s condition on September 30, 2023.
19
                     a.      Total assets                                            $ 223,981,000.00
20
                     b.      Total debts (including debts listed in 2.c., below)     $ 172,528,500.00
21
                     c.      Debt securities held by more than 500 holders:          N/A
22
                     d.      Number of shares of preferred stock                     3,799,799
23
                     e.      Number of shares common stock                           2,329,322
24
              Comments, if any: Total assets and total debts listed above are in accordance with the
25
     Debtor’s unaudited financial statements as of September 30, 2023, as set forth in the Debtor’s
26


      ATTACHMENT TO VOLUNTARY PETITION FOR NON-                           CAIRNCROSS & HEMPELMANN, P.S.
      INDIVIDUALS FILING FOR BANKRUPTCY UNDER CHAPTER                     ATTORNEYS AT LAW
      11 - 1                                                              524 Second Avenue, Suite 500
                                                                          Seattle, Washington 98104-2323
                                                                          office 206 587 0700 fax 206 587 2308
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 1   Form 10-Q filed on November 14, 2023. The Debtor’s Form 10-Q lists the consolidated total

 2   assets and total liabilities of the Debtor and its subsidiaries. To the Debtor’s knowledge, the

 3   shares of common stock listed above are those outstanding as of December 8, 2023.

 4          3.       Brief description of the debtor’s business: The Company is a real estate

 5   development company involved in all aspects of the land development cycle, including land

 6   acquisition, entitlement, development, construction of project infrastructure, home and apartment

 7   building construction, marketing, and sales of various residential projects.

 8          4.       List the names of any person who directly or indirectly owns, controls, or holds,

 9   with power to vote, 5% or more of the voting securities of the debtor:

10               •   Sterling Griffin owns more than 5% of HCDI common stock.

11               •   Tiburon Opportunity Fund LP and Matthew A. Fudenberger own more than 5%

12                   of HCDIP preferred stock.

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      ATTACHMENT TO VOLUNTARY PETITION FOR NON-                          CAIRNCROSS & HEMPELMANN, P.S.
      INDIVIDUALS FILING FOR BANKRUPTCY UNDER CHAPTER 11- 2              ATTORNEYS AT LAW
                                                                         524 Second Avenue, Suite 500
                                                                         Seattle, Washington 98104-2323
                                                                         office 206 587 0700 fax 206 587 2308

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                                                         RESOLUTIONS
                                                               OF
                                                    BOARD OF DIRECTORS
                                                               OF
             HARBOR CUSTOM DEVELOPMENTS, INC. AND CERTAIN OF ITS SUBSIDIARIES
                                                         December 1, 2023
                    The undersigned, being all of the Board of Directors of Harbor Custom Developments,
            Inc., a Washington Corporation, and its direct subsidiaries, Pacific Ridge CMS, LLC, HCDI
            Semiahmoo, LLC, HCDI FL Condo, LLC, and HCDI Wyndstone, LLC, HCDI Bridgeview,
            LLC, Tanglewilde, LLC, and Belfair Apartments, LLC (collectively, the “Company”), at a
            meeting held on November 22, 2023, do hereby consent to the adoption of the following
            resolutions as of November 22, 2023.
                   WHEREAS, the Company has determined that it is desirable and in the best interests of
            the Company and its creditors, employees, and other interested parties that a petition be filed by
            the Company, seeking relief under the provisions of Chapter 11 of Title 11 of the United States
            Code (the “Bankruptcy Code”).
                    NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
            authorized to file a voluntary petition for relief under Chapter 11 of the Bankruptcy Code (such
            voluntary petition, and the voluntary petitions to be filed by the Company’s affiliates,
            collectively, the “Chapter 11 Cases”) in a court of proper jurisdiction (the “Bankruptcy
            Court”); and
                     RESOLVED FURTHER, that Jeffrey B. Habersetzer, the Interim Chief Executive
            Officer, and Shelly Crocker, the Chief Restructuring Officer (each, an “Authorized Officer” and
            collectively, the “Authorized Officers”) be, and each of them individually hereby is, authorized,
            in the name and on behalf of the Company, appointed as the Company’s authorized
            representatives, and in such capacity, acting alone or together, with power of delegation, be, and
            they hereby are, authorized and empowered to execute and file on behalf of the Company,
            including in the Company’s capacity as shareholder or member of its subsidiaries, all petitions,
            schedules, lists, applications, pleadings and other motions, papers, agreements, consents or
            documents, and to take any and all action that they deem necessary or proper to obtain such
            relief, including, without limitation, any action necessary to maintain the ordinary course
            operation of the Company's businesses.
                    RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
            authorized and directed to employ the law firm of Cairncross & Hempelmann, P.S., as general
            bankruptcy counsel to represent and assist the Company in carrying out its duties under the
            Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
            obligations, including filing any pleadings; and in connection therewith, each of the Authorized
            Officers, with power of delegation, are hereby authorized and directed to execute appropriate
            retention agreements, pay appropriate retainers in an amount of $150,000, and to cause to be
            filed an appropriate application for authority to retain the services of Cairncross & Hempelmann,
            P.S.




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                     RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
            authorized and directed to employ any other professionals to assist the Company in carrying out
            its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
            rights and obligations; and in connection therewith, each of the Authorized Officers, are hereby
            authorized and directed to execute appropriate retention agreements, pay appropriate retainers,
            and to cause to be filed appropriate applications for authority to retain the services of any other
            professionals as necessary.
                    RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
            authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
            applications, pleadings, and other papers and, in connection therewith, to employ and retain all
            assistance by legal counsel, accountants, financial advisors, and other professionals and to take
            and perform any and all further acts and deeds that each of the Authorized Officers deem
            necessary, proper or desirable in connection with the Chapter 11 Cases.
                    RESOLVED FURTHER, that in addition to the specific authorizations heretofore
            conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
            delegates) be, and they hereby are, authorized, in the name of and on behalf of the Company, to
            take or cause to be taken any and all such other and further action, and to execute, acknowledge,
            deliver and file any and all such agreements, certificates, instruments and other documents and to
            pay all expenses, including but not limited to filing fees, in each case as in such officer’s or
            officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out the intent
            and accomplish the purposes of the resolutions adopted herein.
                   RESOLVED FURTHER, that all members of the Board of Directors of the Company
            have received sufficient notice of the actions and transactions relating to the matters by the
            foregoing resolutions, as may be required by the organizational documents of the Company, or
            hereby waive any right to have received such notice.
                    RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
            contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
            which acts would have been approved by the foregoing resolutions except that such acts were
            taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
            the true acts and deeds of the Company with the same force and effect as if each such act,
            transaction, agreement or certificate has been specifically authorized in advance by resolution by
            the Board of Directors.
                    RESOLVED FURTHER, that these resolutions may be executed and delivered in
            multiple counterparts and via facsimile or other electronic means, all of which taken together
            shall constitute one and the same instrument.
            [SIGNATURE PAGE FOLLOWS]
            IN WITNESS WHEREOF, the undersigned Board of Directors have duly executed these
            Resolutions as of the date first written above.




            4856-4016-3732, v. 1

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            Chris Corr




            Dennis Wong




            David Chandler




            Karen Bryant




            4856-4016-3732, v. 1

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